
721 S.E.2d 228 (2012)
STATE
v.
Keith Leonardo SHROPSHIRE.
No. 152P11-2.
Supreme Court of North Carolina.
January 26, 2012.
Kathleen N. Bolton, Assistant Attorney General, for State of North Carolina.
Keith Leonardo Shropshire, Windsor, for Shropshire, Keith Leonardo.
Peter S. Gilchrist, III, District Attorney, for State of North Carolina.
The following order has been entered on the motion filed on the 30th of December 2011 by Defendant to Proceed In Forma Pauperis:
"Motion Allowed by order of the Court in conference, this the 26th of January 2012."
